     Case 1:23-cv-00365-RSK ECF No. 12, PageID.37 Filed 05/31/24 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                        ______

GERALD BYRD,

                       Plaintiff,                     Case No. 1:23-cv-365
v.                                                    Honorable Ray Kent
UNKNOWN MICHIE,

                       Defendant.
____________________________/

                        ORDER LIFTING STAY AND FOR SERVICE

        This is a prisoner civil rights action. The Court previously reviewed the complaint under

28 U.S.C. § 1915A and 42 U.S.C. § 1997e(c), to determine whether it was frivolous, malicious,

failed to state a claim upon which relief could be granted or sought monetary relief against a

defendant that was immune from such relief. The Court then referred the case to the Pro Se

Prisoner Civil Rights Litigation Early Mediation Program and entered an order staying the case

for any purpose other than mediation. (ECF No. 3.) The case was not resolved through the early

mediation program. (ECF No. 11.) Accordingly,

        IT IS ORDERED that the stay of this proceeding that was entered to facilitate the

mediation is LIFTED.

        IT IS FURTHER ORDERED that the 90-day period for service set forth in Federal Rule

of Civil Procedure 4(m) shall run, starting with the date of this order.

        IT IS ORDERED that the Clerk shall issue a summons for Defendant Michie and send

the summons to Plaintiff with a copy of this order and one copy of the complaint and any exhibits.
   Case 1:23-cv-00365-RSK ECF No. 12, PageID.38 Filed 05/31/24 Page 2 of 2




Because Plaintiff is not proceeding in forma pauperis in this action, he is responsible for service

of the summons and complaint upon Defendant Michie. See Fed. R. Civ. P. 4.

         IT IS FURTHER ORDERED that Defendant Michie shall file an appearance of counsel

(individual Defendants may appear pro se if they do not have counsel) within 21 days of service

or, in the case of a waiver of service, 60 days after the waiver of service was sent. Until so ordered

by the Court, Defendant Michie is not required to file an answer or motion in response to the

complaint, and no default will be entered for failure to do so. See 42 U.S.C. § 1997e(g)(1). After

Defendant Michie has filed an appearance, proceedings in this case will be governed by the Court’s

Standard Case Management Order in a Prisoner Civil Rights Case.



Dated:     May 31, 2024                               /s/ Ray Kent
                                                      Ray Kent
                                                      United States Magistrate Judge




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